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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


JOHN DOE,                                  CIVIL ACTION NO.:
                                           3:19-cv-00620 AWT
Plaintiff,

       vs.
YALE UNIVERSITY, MARVIN
CHUN, JOHN MAYES, JORDAN
PILANT, MARIA PIÑANGO, MARK
SOLOMON, JORDON WHITE,
ANGELA GLEASON.                            October 7, 2019
Defendants.



             Stipulation Between All Parties to File Response and Reply
Counsel for Plaintiff and Defendants met telephonically on October 4, 2019, and
stipulated to the following response dates for Defendants’ Motion to Enforce
Settlement. Plaintiff to file Response by October 8, 2019, Defendants have an

additional Four days to reply to Response.


Dated this 4thday of October, 2019.
                                       THE PLAINTIFF

                                        /s/ Jorge I. Hernandez
                                        JORGE I. HERNANDEZ, Esq.
                                        823 ANCHORAGE PLACE
                                        CHULA VISTA, CA 91914
                                        Jorge@JIHLAW.com
                                        619-475-6677
                                          -1-
                                      Stipulation by all parties regarding filing response and reply to Motion
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                                   CERTIFICATION
I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by e-mail to all parties by operation
of the court’s electronic filing system as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.
                                                                     /s/Jorge I. Hernandez

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                                                          Stipulation by all parties regarding filing response and reply to Motion
